Case 4:08-cv-00465-CVE-tlw Document 40 Filed in USDC ND/OK on 05/06/09 Page 1 of 1




                        UNITED STATES DISTRICT COURT FOR THE
                          NORTHERN DISTRICT OF OKLAHOMA


  CHRIS WILLIAMSON,                                     )
                                                        )
                         Plaintiff,                     )
                                                        )
  v.                                                    )       Case No. 08-CV-0465-CVE-TLW
                                                        )
  ACADEMY COLLECTION SERVICES,                          )
  INC.,                                                 )
                                                        )
                         Defendant.                     )


                                             JUDGMENT

         This matter comes on for consideration of Plaintiff’s Conditional Acceptance of Defendant’s

  Offer of Judgment (Dkt. # 38). Plaintiff has notified the Court that he has accepted defendant’s offer

  to confess judgment in the amount of $4,000, exclusive of costs and attorney’s fees, and requests

  entry of judgment in accordance with defendant’s offer of judgment.

         IT IS THEREFORE ORDERED that judgment is entered in favor of plaintiff, Chris

  Williamson, and against defendant, Academy Collection Service, Inc, in the amount of $4,000, plus

  post-judgment interest from this date at the rate of .50 % per annum, plus the costs of this action.

         DATED this 6th day of May, 2009.
